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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
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 GIDEON RAPAPORT,                                                    Case No.: 1:23-cv-06709 (JGLC)

                           Plaintiff,                                ORDER FOR ADMISSION
           -against-                                                 PRO HAC VICE

 AJAY SRINIVASAN IYER,
 ZACHARY GEORGE GARRETT, and
 RICHARD ALLEN EPSTEIN,

                            Defendants.
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          The motion of Brian J. Field for admission to practice Pro Hac Vice in the above-

captioned action is granted.

          Applicant has declared that he is a member in good standing of the Bar of the

District of Columbia, and that his contact information is as follows:

          Brian J. Field
          SCHAERR | JAFFE LLP
          1717 K Street NW, Suite 900
          Washington, DC 20006
          Telephone: (202) 787-1060; Facsimile: (202) 776-0136
          Email: bfield@schaerr-jaffe.com

Applicant having requested admission Pro Hac Vice to appear for all purposes as counsel

for Defendants Ajay Srinivasan Iyer and Zachary George Garrett in the above-entitled

action;

          IT IS HEREBY ORDERED that Brian J. Field is admitted to practice Pro Hac

Vice in the above-captioned case in the United States District Court for the Southern

District of New York. All attorneys appearing before this Court are subject to the Local

Rules of this Court, including the Rules governing discipline of attorneys.

Dated: ___________________, 2024                             ___________________________
                                                             United States District Judge
